                                                                                   Case 3:10-cv-05900-EDL Document 7 Filed 03/25/11 Page 1 of 1



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                                                                         4                                    UNITED STATES DISTRICT COURT
                                                                         5                                   NORTHERN DISTRICT OF CALIFORNIA
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                                                                              LAJANEE SMITH,
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                                                                                             Plaintiff(s),                                  No. C 10-5900 EDL
                                                                         9
                                                                                     v.                                                     CLERK'S NOTICE
                                                                         10
                                                                              CHECK AND CREDIT REPORTING,
United States District Court




                                                                         11   INC.,
                               For the Northern District of California




                                                                         12               Defendant(s).
                                                                              ___________________________________/
                                                                         13
                                                                         14          TO ALL PARTIES AND COUNSEL OF RECORD:
                                                                         15   YOU ARE NOTIFIED THAT the Case Management Conference currently scheduled for April 5, 2011
                                                                         16   shall be CONTINUED to June 14, 2011 at 3:00 PM before Judge Laporte. A joint case management
                                                                         17   conference statement shall be filed one week prior to the conference. Please report to Courtroom E,
                                                                         18   15th Floor, San Francisco, California.
                                                                         19   Plaintiff shall serve this notice, and file proof of service with the court, on any party not appearing on
                                                                         20   the court's electronic mail notification.
                                                                         21   Dated: March 25, 2011
                                                                                                                                     FOR THE COURT,
                                                                         22                                                          Richard W. Wieking, Clerk
                                                                         23
                                                                         24                                                          by: _____________________________
                                                                                                                                           Cora Klein
                                                                         25                                                                Courtroom Deputy
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